Case 2:23-cv-20964-SRC-MAH           Document 124        Filed 11/04/24     Page 1 of 11 PageID:
                                           3431



  NOT FOR PUBLICATION

                         UNITED STATES DISTRICT COURT
                               DISTRICT OF NEW JERSEY
  _______________________________________
                                          :
  TEVA BRANDED PHARMACEUTICAL             :
  PRODUCTS R&D, INC., NORTON              :
  (WATERFORD) LTD., AND TEVA              :
  PHARMACEUTICALS USA, INC.,              :     Civil Action No. 23-20964 (SRC)
                                          :
                                          :
                                          :           OPINION & ORDER
                    Plaintiffs,           :
                                          :
              v.                          :
                                          :
  AMNEAL PHARMACEUTICALS OF               :
  NEW YORK, LLC, AMNEAL IRELAND           :
  LIMITED, AMNEAL PHARMACEUTICALS :
  LLC, AND AMNEAL                         :
  PHARMACEUTICALS INC.                    :
                                          :
                    Defendants.           :
  _______________________________________:

  CHESLER, U.S.D.J.

         This matter comes before the Court on the application for claim construction by

 Plaintiffs Teva Branded Pharmaceutical Products R&D, Inc., Norton (Waterford) Ltd., and Teva

 Pharmaceuticals USA, Inc. (collectively, “Teva”) and Defendants Amneal Pharmaceuticals Of

 New York, LLC, Amneal Ireland Limited, Amneal Pharmaceuticals LLC, and Amneal

 Pharmaceuticals Inc. (collectively, “Amneal.”) This case arises out of a patent infringement

 dispute under the Hatch-Waxman Act between Teva and Amneal. Teva holds approved NDA

 No. 021457 for ProAir® HFA (albuterol sulfate) Inhalation Aerosol (“ProAir® HFA”), and

 owns certain patents listed in the Orange Book as covering this product: U.S. Patent Nos.


                                                  1
Case 2:23-cv-20964-SRC-MAH            Document 124        Filed 11/04/24      Page 2 of 11 PageID:
                                            3432



 8,132,712 (the “’712 patent”), 9,463,289 (the “’289 patent”), 9,808,587 (the “’587 patent”),

 10,561,808 (the “’808 patent”), and 11,395,889 (the “’889 patent”) (collectively, the “Patents at

 issue” or the “Inhaler Patents”). The parties dispute the construction of seven terms in these

 patents.

                                             ANALYSIS

 I.     The law of claim construction

        A court’s determination “of patent infringement requires a two-step process: first, the

 court determines the meaning of the disputed claim terms, then the accused device is compared

 to the claims as construed to determine infringement.” Acumed LLC v. Stryker Corp., 483 F.3d

 800, 804 (Fed. Cir. 2007). “[W]hen the district court reviews only evidence intrinsic to the

 patent (the patent claims and specifications, along with the patent’s prosecution history), the

 judge’s determination will amount solely to a determination of law.” Teva Pharms. USA, Inc. v.

 Sandoz, Inc., 135 S. Ct. 831, 841 (2015).

        The focus of claim construction is the claim language itself:

        It is a bedrock principle of patent law that the claims of a patent define the
        invention to which the patentee is entitled the right to exclude. Attending this
        principle, a claim construction analysis must begin and remain centered on the
        claim language itself, for that is the language the patentee has chosen to
        ‘particularly point[] out and distinctly claim[] the subject matter which the
        patentee regards as his invention.’

 Innova/Pure Water, Inc. v. Safari Water Filtration Sys., 381 F.3d 1111, 1115-1116 (Fed. Cir.

 2004) (citations omitted).

        The Federal Circuit has established this framework for the construction of claim

 language:

        We have frequently stated that the words of a claim ‘are generally given their

                                                    2
Case 2:23-cv-20964-SRC-MAH            Document 124        Filed 11/04/24      Page 3 of 11 PageID:
                                            3433



        ordinary and customary meaning.’ We have made clear, moreover, that the
        ordinary and customary meaning of a claim term is the meaning that the term
        would have to a person of ordinary skill in the art in question at the time of the
        invention, i.e., as of the effective filing date of the patent application.
        The inquiry into how a person of ordinary skill in the art understands a claim term
        provides an objective baseline from which to begin claim interpretation. . .

        In some cases, the ordinary meaning of claim language as understood by a person
        of skill in the art may be readily apparent even to lay judges, and claim
        construction in such cases involves little more than the application of the widely
        accepted meaning of commonly understood words. In such circumstances,
        general purpose dictionaries may be helpful. In many cases that give rise to
        litigation, however, determining the ordinary and customary meaning of the claim
        requires examination of terms that have a particular meaning in a field of art.
        Because the meaning of a claim term as understood by persons of skill in the art is
        often not immediately apparent, and because patentees frequently use terms
        idiosyncratically, the court looks to those sources available to the public that show
        what a person of skill in the art would have understood disputed claim language to
        mean. Those sources include the words of the claims themselves, the remainder
        of the specification, the prosecution history, and extrinsic evidence concerning
        relevant scientific principles, the meaning of technical terms, and the state of the
        art.

 Phillips v. AWH Corp., 415 F.3d 1303, 1312-1314 (Fed. Cir. 2005) (citations omitted).

 II.    Claim construction of the disputed terms

        Teva summarizes the dispute over the construction of the seven terms at issue as follows:

        The claim construction dispute in this case concerns whether the asserted claims –
        which expressly recite an “inhaler,” “medicament canister,” or the like – require
        the presence of an active drug (as Teva argues) or claim only the device with no
        active drug (as Defendants argue).

 (Pls.’ Opening Br. at 1.) Teva also summarizes its argument as follows: “Simply put, an

 ‘inhaler’ without an active drug is not an ‘inhaler.’” (Pls.’ Opening Br. at 17.) These quotes

 concisely give the gist of Teva’s position.

        In opposition, Amneal urges the Court to “reject Teva’s attempt to import ‘an active

 drug’ requirement into the “inhaler” preambles.” (Defs.’ Opening Br. at 1.) As the discussion


                                                 3
Case 2:23-cv-20964-SRC-MAH            Document 124         Filed 11/04/24     Page 4 of 11 PageID:
                                            3434



 that follows will show, the Court finds that this is an apt characterization of Teva’s arguments,

 and, in short, the Court agrees with Amneal that Teva cites no intrinsic evidence to support

 importing such a requirement into the preambles or into the claim terms at issue. Amneal

 contends that construction is not needed for any of the terms at issue.

        Teva seeks construction of seven terms which fall into two groups. In the first group are

 five terms which appear in a preamble phrase of various claims; in the second group are two

 terms which appear in the body of various claims. Teva’s summary, just quoted, applies to all

 seven terms: the core issue is whether the claim term requires the presence of an active drug.

        Teva proposes that five preamble phrases should be construed as limiting: 1) in claim 1

 of the ‘289 patent and claims 1 and 12 of the ‘587 patent: “An inhaler for metered dose

 inhalation, the inhaler comprising:”; 2) in claim 1 of the ‘808 patent: “A dose counter for an

 inhaler;” and 3) in claim 1 of the ‘889 patent: “An incremental dose counter for a metered dose

 inhaler.”

        For each term in the preamble group of disputed terms, Teva proposes an argument with

 two steps. At the first step, Teva argues that the preamble phrase should be found to be a claim

 limitation. At the second step, Teva proposes that the Court rewrite the preamble phrase: in each

 case, Teva contends that the Court should rewrite the phrase to add in the requirement for the

 presence of an active drug product. For example, as to the preamble phrase “An inhaler for

 metered dose inhalation,” which appears in claim 1 of the ‘289 patent and claims 1 and 12 of the

 ‘587 patent, Teva argues in two steps: 1) the preamble phrase is limiting; and 2) the now-limiting

 preamble phrase should be rewritten to add “containing an active drug capable of being

 dispensed via the inhaler to the lungs.” Teva proposes that the Court should, first, classify the


                                                  4
Case 2:23-cv-20964-SRC-MAH             Document 124         Filed 11/04/24      Page 5 of 11 PageID:
                                             3435



 preamble phrase as limiting, and then, second, insert new matter into the preamble which should

 also be viewed as limiting.1

        This appears to be a roundabout approach to what is essentially – as Amneal argues – an

 attempt to import a characteristic of specific embodiments from the specification into the claim.

 It is indisputable that there are a number of places in the specification that disclose use of the

 invention to contain and dispense medication. Teva proposes constructions that limit the claims

 to embodiments which contain medication, excluding embodiments empty of medication.

        The Court will consider the second step of Teva’s argument first: has Teva demonstrated,

 under Federal Circuit law, that this characteristic of some embodiments (containing medication)

 should be imported as a claim limitation? The Federal Circuit has — in its own words –

 “repeatedly warned” against limiting claims to particular embodiments: “although the

 specification often describes very specific embodiments of the invention, we have repeatedly

 warned against confining the claims to those embodiments.” Phillips, 415 F.3d at 1323. The

 Federal Circuit has explained:

        The written description, however, is not a substitute for, nor can it be used to
        rewrite, the chosen claim language. Though understanding the claim language
        may be aided by the explanations contained in the written description, it is
        important not to import into a claim limitations that are not a part of the claim.
        For example, a particular embodiment appearing in the written description may
        not be read into a claim when the claim language is broader than the embodiment.

 Superguide Corp. v. DirecTV Enters., 358 F.3d 870, 875 (Fed. Cir. 2004); see also Sumitomo

 Dainippon Pharma Co. v. Emcure Pharms. Ltd., 887 F.3d 1153, 1158 (Fed. Cir. 2018)



 1
   Teva cites no cases in which the Federal Circuit used any analogous two-step approach to claim
 construction of a preamble phrase, first finding a preamble to be limiting, and then entirely
 rewriting the preamble with new matter that is considered limiting as well.

                                                   5
Case 2:23-cv-20964-SRC-MAH             Document 124         Filed 11/04/24       Page 6 of 11 PageID:
                                             3436



 (“Appellants’ claim construction arguments conflict with Pfizer and other precedent because

 they seek to import limitations from the specification into the claim.”) Moreover, the

 requirements for importing such a limitation are exacting: “Generally, a claim is not limited to

 the embodiments described in the specification unless the patentee has demonstrated a clear

 intention to limit the claim’s scope with words or expressions of manifest exclusion or

 restriction.” i4i Ltd. P'ship v. Microsoft Corp., 598 F.3d 831, 843 (Fed. Cir. 2010) (quotation

 omitted). Teva has not pointed to any expressions of manifest exclusion or restriction in the

 specification which could justify restricting the claims to medication-containing embodiments.

 In fact, Teva’s briefs completely overlook Federal Circuit law about importing limitations from

 specific embodiments.

        In support of the second step of its preamble argument, Teva offers the intrinsic evidence

 of specification references to inhalers containing medication.2 Teva begins with the first

 sentence of the “Background of the Invention” section: “Metered dose inhalers can comprise a

 medicament-containing pressurised canister containing a mixture of active drug and propellant.”

 ‘289 patent, col.1 ll.27-29. This sentence does not support Teva’s assertion that an inhaler

 without an active drug is not an inhaler. Instead, it supports the understanding that an inhaler




 2
   Teva also offers a definition from Merriam-Webster’s Medical Desk Dictionary, but different
 dictionaries say different things. Merriam-Webster’s regular online dictionary gives the word
 “inhaler” two different ordinary meanings. One is the device by means of which a user inhales
 something, and the second is the person who is doing the inhaling. See https://www.merriam-
 webster.com/dictionary/inhaler (last accessed 10/29/2024.) This other Webster’s dictionary does
 not agree with Teva that a person who inhales air but not drugs does not fit within the ordinary
 definition of an inhaler. Neither dictionary is intrinsic evidence. “While extrinsic evidence can
 shed useful light on the relevant art, we have explained that it is less significant than the intrinsic
 record in determining the legally operative meaning of claim language.” Phillips, 415 at 1317.

                                                    6
Case 2:23-cv-20964-SRC-MAH            Document 124        Filed 11/04/24      Page 7 of 11 PageID:
                                            3437



 may or may not comprise an active drug.3 The Court will not pick through the rest of Teva’s

 references to the specification, because none of them supports the proposition that the patentees

 believed that an inhaler without an active drug is not an inhaler.4 The intrinsic evidence Teva

 cites does not support importing a claim limitation restricting the invention to inhalers containing

 medication. The Court finds no intrinsic evidence to support the proposition that an empty

 inhaler is no longer an inhaler.

        Nor does Teva offer a theory of meaning to support its proposed construction of

 “inhaler.” The options are limited by Federal Circuit law:

        While we read claims in view of the specification, of which they are a part, we do
        not read limitations from the embodiments in the specification into the claims.
        Liebel-Flarsheim Co. v. Medrad, Inc., 358 F.3d 898, 904 (Fed. Cir. 2004). We
        depart from the plain and ordinary meaning of claim terms based on the
        specification in only two instances: lexicography and disavowal. Thorner, 669
        F.3d at 1365. The standards for finding lexicography and disavowal are exacting.
        “To act as its own lexicographer, a patentee must clearly set forth a definition of
        the disputed claim term other than its plain and ordinary meaning” and must
        “clearly express an intent to redefine the term.” Id. at 1365 (quotations omitted).

        ...

        Disavowal requires that “the specification [or prosecution history] make[] clear

 3
   Similarly, Amneal points out that, in the “Summary of the Invention” section, the specification
 discloses a series of possible inhaler embodiments, and then states: “Each of the above inhalers
 in accordance with aspects of the present invention may have a medicament canister mounted
 thereto.” ‘289 patent, col.9 ll.12-14. Note again the use of “may” to express optional potential
 rather than requirement of a medicament canister.
 4
   In quoting from the specification, Teva does not distinguish between statements about potential
 specific embodiments, which are generally not limiting, and restrictive statements about the
 entire invention, which might be limiting. The Federal Circuit often cautions courts about
 importing claim limitations from particular embodiments. See, e.g., Liebel-Flarsheim Co. v.
 Medrad, Inc., 358 F.3d 898, 906 (Fed. Cir. 2004) (“Even when the specification describes only a
 single embodiment, the claims of the patent will not be read restrictively unless the patentee has
 demonstrated a clear intention to limit the claim scope using words or expressions of manifest
 exclusion or restriction.”) Teva does not at any point argue that the specification contains any
 disclaimer or disavowal of embodiments lacking active drug product.

                                                  7
Case 2:23-cv-20964-SRC-MAH             Document 124        Filed 11/04/24       Page 8 of 11 PageID:
                                             3438



        that the invention does not include a particular feature,” SciMed Life Sys., Inc. v.
        Advanced Cardiovascular Sys., Inc., 242 F.3d 1337, 1341 (Fed. Cir. 2001), or is
        clearly limited to a particular form of the invention.

 Hill-Rom Servs. v. Stryker Corp., 755 F.3d 1367, 1371-72 (Fed. Cir. 2014). Teva has not argued

 that the intrinsic evidence supports a theory based on lexicography or disavowal, and so, under

 the law, it is left with a theory of ordinary meaning. As Teva repeatedly notes in its opening

 brief, the first sentence of the “Background of the Invention” section states: “Metered dose

 inhalers can comprise a medicament-containing pressurised canister containing a mixture of

 active drug and propellant.” ‘289 patent, col.1 ll.27-29. This is a very clear statement that the

 genus of metered dose inhalers includes inhalers with a canister containing active drug and

 propellant, as well as inhalers that do not do so. That statement from the specification appears to

 provide a better expression of the patentees’ understanding of the relationship between inhalers

 and drug products than does the claim that an inhaler without a reserve of drug product is not an

 inhaler.

        This alone is sufficient to reject Teva’s proposed construction of the preambles, but there

 are other reasons to reject the proposition that an inhaler should be limited to medication-

 containing embodiments, and is no longer an inhaler when without medication: the shared

 specification expressly recognizes the problem of the empty inhaler, expressing serious concern

 about the possibility of running out of medication, and it is a fair statement that a key benefit of

 the inventive dose counter is that patients can use it to prevent running out of medicine.5 Thus,

 the invention, an inhaler with a more accurate dose counter, has a life cycle which goes from


 5
  In the “Background of the Invention” section, the specification explains that a problem with
 prior art inhalers without accurate dose counters is that a user could run out of medication
 without knowing it. ‘289 patent, col.2 ll.25-31. This was an important problem to be solved.

                                                   8
Case 2:23-cv-20964-SRC-MAH             Document 124          Filed 11/04/24   Page 9 of 11 PageID:
                                             3439



 unused to possibly empty, with one goal being to help users avoid the empty state.

        The specification goes on to describe how a user can operate the inhaler to receive a dose

 of the drug. ‘289 patent, col.1 ll.34-48. It then states:

        A drawback of self-administration from an inhaler is that it is difficult to
        determine how much active drug and/or propellant are left in the inhaler, if any,
        especially of the active drug and this is potentially hazardous for the user since
        dosing becomes unreliable and backup devices not always available.

        Inhalers incorporating dose counters have therefore become known.

 ‘289 patent, col.1 ll.49-56.6 The specification thus explains that the dose counter helps the user

 determine how much active drug is left in the inhaler, “if any.” This points out that, at the end of

 the cycle, there may be no active drug left in the inhaler.7

        The Federal Circuit has instructed that, in construing claims, courts should consider what

 the inventor actually invented:

        Ultimately, the interpretation to be given a term can only be determined and
        confirmed with a full understanding of what the inventors actually invented and
        intended to envelop with the claim. The construction that stays true to the claim
        language and most naturally aligns with the patent's description of the invention
        will be, in the end, the correct construction.


 6
   It is worth noting that this quote is directly contrary to Teva’s thesis that an inhaler without
 medication is no longer an inhaler. The reference to “how much . . . are left in the inhaler, if
 any” is intrinsic evidence that the patentees did not believe that an inhaler without medication is
 no longer an inhaler.
 7
   The life cycle of inhalers is further described in detail in the “Detailed Description of the
 Invention” section. Figure 6B shows details of an embodiment at the beginning of the cycle,
 “when the inhaler has not been used at all.” ‘289 patent, col.13 ll.10-11. The specification
 describes how the dose counter may be configured so as to count the number of doses remaining
 to be dispensed, or to count the number of doses that have already been dispensed. ‘289 patent,
 col.17 ll.4-10, col.20 l.62-col.21 l.8. If the counter is inaccurate, “the active drug and/or
 propellant may run out while the user thinks the device is still suitable for use according to the
 counter.” ‘289 patent, col.2 ll.29-31. The point of the dose counter is to inform the user about
 the changing level of the active drug available to be dispensed, with one goal being to help the
 user prevent running out of medication.

                                                   9
Case 2:23-cv-20964-SRC-MAH            Document 124         Filed 11/04/24      Page 10 of 11 PageID:
                                             3440



 Phillips, 415 F.3d at 1316 (quoting Renishaw PLC v. Marposs Societa' per Azioni, 158 F.3d

 1243, 1250 (Fed.Cir.1998)). In short, this Court finds that the inventors actually invented a

 product with a life cycle that may progress from unused (active drug is at original level) to used

 up (no doses left). Under the construction proposed by Teva, the claims at issue would not

 encompass the condition in which the inhaler is empty. Teva’s proposed construction does not

 naturally align with the patent's description of the invention.

        The Court thus finds that the second step of Teva’s preamble argument cannot succeed.

 The Court need not reach the first step, the question of whether the preamble phrases are

 limiting, because it is clear that Teva’s second step is contrary to Federal Circuit law. Teva has

 not argued that, even if the Court declines to import the claim limitations as Teva requested, it

 should still find the preambles to be limiting.

        Similarly, Teva proposes that the claim terms, “canister” and “medicament canister,”

 both require the presence of an active drug. For the reasons already stated, the Court finds that

 the medicament canister also has a potential life cycle ranging from unused to used up, that the

 claim term does not require that the canister contain a particular amount, and that there is no

 justification for importing a limitation from the specification into the claims.8


 8
   In addition, Amneal makes the interesting observation that the same group of inventors
 received U.S. Patent No. 10,086,156, which descends from a common parent application shared
 with the ‘289 patent, which contains this claim:

     1. A dose counter for a metered dose inhaler having a body arranged to retain a
        medicament canister of predetermined configuration for movement of the
        medicament canister relative thereto, the medicament canister containing an
        active drug; the dose counter comprising . . .

 Amneal points out that this shows that the patentees knew how to include such a limitation in a
 claim for a inhaler/dose counter but, in the four patents at issue, elected not to do so. This is

                                                   10
Case 2:23-cv-20964-SRC-MAH           Document 124        Filed 11/04/24       Page 11 of 11 PageID:
                                            3441



        In its responsive brief, Teva responds to Amneal’s arguments as follows:

        Turning to Defendants' arguments against Teva’s proposed construction, the
        parties’ dispute centers on what is the “plain and ordinary” meaning of the Inhaler
        Terms. Def. Br. at 11-12. Despite arguing that Teva's constructions do not capture
        the plain and ordinary meaning of the Inhaler Terms, Defendants fail to offer any
        competing evidence regarding the plain and ordinary meaning of those terms.

 (Pls.’ Resp. Br. at 14.) The Court disagrees with Teva. The central dispute here is not about the

 ordinary meaning of the claim term “inhaler;” it is about Teva’s attempt to import limitations

 from the specification into the claims. Amneal’s position is that no limitations should be

 imported and the terms need no construction. Because the Court has found that Teva has failed

 to meet the requirements of Federal Circuit law to import limitations from the specification into

 the claims, the Court rejects all of Teva’s proposed constructions. The Court finds that this

 resolves the present claim construction disputes and that no further analysis is needed.

        In conclusion, the Court determines that the claim terms at issue do not require the

 presence of an active drug, and that no further construction is necessary.

        SO ORDERED.

                                                        s/ Stanley R. Chesler
                                                      STANLEY R. CHESLER, U.S.D.J.
 Dated: November 4, 2024




 consistent with the Court’s understanding of the terms at issue.

                                                 11
